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                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                         )
In re:                                                   )     Chapter 11
                                                         )
GRIDDY ENERGY LLC,1                                      )     Case No. 21-30923 (MI)
                                                         )
                                   Debtor.               )     Relates to Docket No. 17
                                                         )

      INTERIM ORDER (I) AUTHORIZING THE DEBTOR TO REDACT CERTAIN
    PERSONALLY IDENTIFIABLE INFORMATION FOR INDIVIDUAL CREDITORS,
       (II) APPROVING THE FORM AND MANNER OF NOTIFYING CREDITORS
         OF THE COMMENCEMENT OF THIS CHAPTER 11 CASE AND OTHER
     INFORMATION; (III) AUTHORIZING ELECTRONIC NOTICE FOR FORMER
                CUSTOMERS; AND (IV) GRANTING RELATED RELIEF

          Upon the motion (the "Motion")2 of the debtor and debtor in possession in the above-

captioned case (the "Debtor") for entry of an interim order (this "Interim Order"), pursuant to

sections 105(a) and 107(b) of the Bankruptcy Code, Bankruptcy Rules 1007, 2002, 6003, 6004

and 9007, and Bankruptcy Local Rule 9013-1, (i) authorizing the Debtor to redact certain

personally identifiable information for individual creditors, (ii) approving the form and manner

of notice of commencement of this chapter 11 case and the scheduling of the meeting of creditors

under section 341 of the Bankruptcy Code, (iii) authorizing electronic notice for former

customers, and (iv) granting related relief, all as further described in the Motion; and upon

consideration of the First Day Declaration; and this Court having jurisdiction to consider the

Motion and the relief requested therein pursuant to 28 U.S.C. § 1334; and this Court having

found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court having

found that venue of this proceeding and the Motion in this District is proper pursuant to 28


1    The last four digits of the Debtor's federal tax identification number are 1396. The mailing address for the
     Debtor is PO Box 1288, Greens Farms, CT 06838.
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U.S.C. §§ 1408 and 1409; and this Court having found that the Debtor's notice of the Motion and

opportunity for a hearing were adequate and appropriate under the circumstances and no other

notice need be provided; and this Court having reviewed the Motion and having heard the

statements in support of the relief requested therein at any hearing before this Court (the

"Hearing"); and this Court having determined that the legal and factual bases set forth in the

Motion and at any Hearing establish just cause for the relief granted herein; and all objections to

the Motion having been withdrawn, resolved or overruled; and this Court having found and

determined that the relief sought in the Motion is in the best interests of the Debtor the Debtor's

estate, its creditors and other parties in interest; and upon all of the proceedings had before this

Court and the record herein; and after due deliberation and good and sufficient cause appearing

therefor,

        IT IS HEREBY ORDERED THAT:

        1.       Subject to entry of a final order, 1.       The Debtor is authorized to redact address

information of individual creditors listed on the Creditor Matrix; provided, that the Debtor shall

provide an unredacted version of the Creditor Matrix to the Court, the U.S. Trustee and any

official committee of unsecured creditors appointed in this chapter 11 case. In addition, subject

to entry of a final order, the Debtor is authorized to redact name and address information of

former customers of the Debtor on its Schedules of Assets and Liabilities and Statement of

Financial Affairs and any other documents filed with the Court; provided that, if requested, the

Debtor shall provide an unredacted version of such documents to the Court and the U.S. Trustee.

The Debtor shall inform the U.S. Trustee promptly after denying any request for an unredacted

document pursuant to this Interim Order. The rights of all parties in this chapter 11 case to


2   Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.


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object to the relief set forth in this paragraph on a final basis, for any reason, including that the

Debtor has not satisfied its burden under section 107(c) of the Bankruptcy Code, are hereby

preserved.

       22.     If a party in interest submits a written request to the Debtor for access to an

unredacted version of a document that has been filed in redacted form pursuant to this Order, the

Debtor shall respond in writing to such request no later than five business days after receipt of

such request and, in the event that the Debtor will not agree to such a request, inform the U.S.

Trustee. If the Debtor will not agree to such a request, the requesting party in interest may file a

motion with the Court seeking access to such information in unredacted form and must include

the reason such information is needed, including the intended use for such information.

       3.      The Debtor is authorized to serve the Notice of Commencement, substantially in

the form attached hereto as Exhibit 1, on the Creditor Matrix and on its former customers.

Service of the Notice of Commencement shall be deemed adequate and sufficient notice of:

(a) the commencement of this chapter 11 case; and (b) the scheduling of the meeting of creditors

under section 341 of the Bankruptcy Code.

       34.     Unless otherwise ordered by the Court and subject to the entry of a final order, the

Debtor is permitted to provide notice to its former customers by electronic means only and such

notice will be considered to be proper and adequate notice for all matters in this chapter 11 case;

provided that, the Debtor's first mailing to its former customers shall be by postcard, with the

message set forth on the postcard to be substantially as set forth on Exhibit 2 attached hereto

("Initial Customer Notice"). If the email address of a former customer is no longer in use or the

email is undeliverable, the Debtor shall send a text message to the person (based on the last

known phone number in the Debtor's books and records) containing the link to Stretto's website



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and indicating that the Debtor attempted to email the former customer at his or her last known

email address with an important document related to Griddy's chapter 11 case and the customer

can access the document by clicking on: https://cases.stretto.com/Griddy. No further action or

notice shall be required.

       45.     In addition to the above, as soon as is reasonably practicable after the entry of this

Order, the Debtor shall post the language in the Initial Customer Notice in English and in

Spanish on Facebook, Twitter, Instagram and on its website at www.griddy.com.

       5.      A final hearing (the "Final Hearing") on the Motion shall be held on

_________________, 2021, at ____________a/p.m. (prevailing Central Time) Any objections

or responses to entry of a final order on the Motion shall be filed on or before 4:00 p.m.

prevailing Central Time on ____________________, 2021. Any responses or objections to the

Motion and entry of relief requested in the Motion on a final basis (the "Final Order") must:

(a) be made in writing; (b) state with particularity the grounds therefor; (c) conform to the

Bankruptcy Rules and the Local Bankruptcy Rules; (d) be filed with the United States

Bankruptcy Court for the Southern District of Texas; and (e) be served upon (i) the U.S. Trustee,

(ii) the Debtor, Attn: Roop Bhullar, P.O. Box 1288, Greens Farms, Connecticut 06838; and

(iii) proposed counsel to the Debtor: Baker Botts L.L.P., 910 Louisiana Street, Houston, Texas

77002 (Attn.: David R. Eastlake), and 30 Rockefeller Plaza, New York, NY 10112 (Attn. Robin

Spigel and Chris Newcomb). In the event no objections to entry of the final order on the Motion

are timely received, the Court may enter a final order without a Final Hearing.

       6.      Notice of the Motion as provided therein shall be deemed good and sufficient

notice of the Motion and the requirements of Bankruptcy Rule 6004(a) and the Bankruptcy Local

Rules are satisfied by such notice.



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       7.      Notwithstanding Bankruptcy Rule 6004(h), this Interim Order shall be effective

and enforceable immediately upon entry hereof.

       8.      The Debtor is hereby authorized to take all actions necessary to effectuate the

relief granted in this Interim Order in accordance with the Motion.

       9.      This Court shall retain exclusive jurisdiction to hear and determine all matters

arising from or related to the implantation, interpretation, and enforcement of this Interim Order.

Dated: __________, 2021
       Houston, Texas
                                                     THE HONORABLE MARVIN ISGUR
                                                     UNITED STATES BANKRUPTCY JUDGE




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                             Exhibit 1

                  Proposed Notice of Commencement
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Information to identify the case:
Debtor:        Griddy Energy LLC                                                                                         EIN: XX-XXXXXXX
United States Bankruptcy Court for the Southern District of Texas
Case Numbers: 21-30923 (MI)                                                      Date case filed for chapter 11                  March 15, 2021
Official Form 309F (For Corporations or Partnerships)

Notice of Chapter 11 Bankruptcy Case                                                                                                         12/17
For the debtor listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about the meeting of
creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect
debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue, assert a deficiency, repossess property,
or otherwise try to collect from the debtor. Creditors cannot demand repayment from the debtor by mail, phone, or otherwise. Creditors who violate
the stay can be required to pay actual and punitive damages and attorney's fees.

Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt excepted from discharge may be
required to file a complaint in the bankruptcy clerk's office within the deadline specified in this notice. (See line 11 below for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed
below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.

     1.   Debtor's full name: See chart below.


       NO.                     DEBTOR                                   ADDRESS                                 CASE NO.                 EIN #
        1.      Griddy Energy LLC                          PO Box 1288, Greens Farms, CT 06838                 21-30923 (MI)          XX-XXXXXXX
     2. All other names used in the last 8 years: GreenBird Energy LLC

     3.   Address: See Chart Above

     4.   Debtor's attorney

 David Eastlake, State Bar No. 24074165                                         Debtor's notice and claims agent (for court documents and case
 BAKER BOTTS L.L.P.                                                             information inquiries):
 910 Louisiana Street
 Houston, Texas 77002-4995                                                      Griddy Energy, LLC
 Telephone: 713/229-1234                                                        c/o Stretto
 Facsimile: 713/229-1522                                                        410 Exchange, Suite 100
 Email: david.eastlake@bakerbotts.com                                           Irvine, CA 92602

 Robin Spigel (pro hac vice)                                                    U.S. toll-free: (855) 478-2725
 BAKER BOTTS L.L.P.                                                             International: (949) 471-0997
 30 Rockefeller Plaza                                                           Email: GriddyInquiries@stretto.com
 New York, New York 10112                                                       Case website: https://cases.stretto.com/Griddy
 Telephone: (212) 408-2500
 Facsimile: (212) 259-2501
 Email: robin.spigel@bakerbotts.com




     Official Form 309F (For Corporations or Partnerships)                                               Notice of Chapter 11 Bankruptcy Case
                                                                                                              For more information, see page 2
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5.
Bankruptcy clerk's office                     United States Courthouse                                          Hours open: Monday − Friday
Documents in this case may be filed at        515 Rusk Avenue                                                       8:00 AM − 5:00 PM (CT)
this address.                                 Houston, Texas 77002                                               Contact phone: 713-250-5500
You may inspect all records filed in this     All documents in this case are available free of
case at this office or online at              charge on the website of the Debtor's notice
www.pacer.gov.                                and claims agent at
                                              https://cases.stretto.com/Griddy
6.
Meeting of creditors (By Telephone)           Time and Date To be Determined                                        Location:
The debtor's representative must attend       April 20, 2021 at 1:30 PM (CT)                                        [______]
the meeting telephonically to be              The meeting may be continued or adjourned to                          [______]
questioned under oath. Creditors may          a later date. If so, the date will be on the court
attend telephonically, but are not required   docket.                                                  Telephonic Conference Call Line:
to do so.                                                                                                      866−707−5468
                                                                                                             Passcode: 6166997



7.   Proof of claim deadline
                       Deadline for filing proof of claim: Not yet set. If a deadline is set, notice will be sent at a later time.
                        A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                        www.uscourts.gov or any bankruptcy clerk's office.

                         Your claim will be allowed in the amount scheduled unless:
                              Your claim is designated as disputed, contingent or unliquidated;
                              You file a proof of claim in a different amount; or
                              You receive another notice

                         If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you must file a
                         proof of claim or you might not be paid on your claim and you might be unable to vote on a plan. You may file a
                         proof of claim even if your claim is scheduled.

                         You may review the schedules at the bankruptcy clerk's office or online at www.pacer.gov.

                         Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                         claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For
                         example, a secured creditor who files a proof of claim may surrender important nonmonetary rights, including the
                         right to a jury trial.

8. Exception to discharge deadline
The bankruptcy clerk's     If § 523(c) applies to your claim and you seek to have it excepted from discharge, you must start a judicial
office must receive a      proceeding by filing a complaint by the deadline stated below
complaint and any
required filing fee by the Deadline for filing the complaint: To be Determined
following deadline.

9. Creditors with a foreign address
If you are a creditor receiving notice mailed to a foreign address, you may file a motion asking the court to extend the deadlines in this notice.
Consult an attorney familiar with United States bankruptcy law if you have any questions about your rights in this case.

10. Filing a Chapter 11 bankruptcy case
Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the court confirms it. You may receive a
copy of the plan and a disclosure statement telling you about the plan, and you may have the opportunity to vote on the plan. You will receive
notice of the date of the confirmation hearing, and you may object to confirmation of the plan and attend the confirmation hearing. Unless a
trustee is serving, the debtor will remain in possession of the property and may continue to operate its business.

11. Discharge of debts
Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of your debt. See 11 U.S.C. § 1141(d). A
discharge means that creditors may never try to collect the debt from the debtor except as provided in the plan. If you want to have a particular
debt owed to you excepted from the discharge under 11 U.S.C. § 1141(d)(6)(A), you must start a judicial proceeding by filing a complaint and
paying the filing fee in the bankruptcy clerk's office by the deadline.


Official Form 309F (For Corporations or Partnerships)                                   Notice of Chapter 11 Bankruptcy Case               Page 2
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                              Exhibit 2
                   Proposed Initial Customer Notice
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 TO FORMER CUSTOMERS* OF GRIDDY ENERGY: NOTICE OF BANKRUPTCY FILING –
                                                   GRIDDY ENERGY LLC

On March 15, 2021, Griddy Energy LLC ("Griddy") filed for bankruptcy protection in. The Judge in
charge of the Case is the Honorable Marvin Isgur of the United States Bankruptcy Court for the Southern
District of Texas.

Other than this initial postcard, He has appointed Stretto.com as the sole means by
whichAdministrator who will send you will receiveimportant notices and documents from Griddy in
itsabout the bankruptcy case .

All future notices about Griddy's bankruptcy and any rights you may have will be sent to you by email
(or, if your email address is invalid, by text if Griddy has a valid telephonephone number for you and
does not have your correct email).

TO PROTECT ANY RIGHTS YOU MAY HAVE AS A FORMER CUSTOMER OF GRIDDY IT IS
IMPORTANT THAT YOU OPEN AND READ ALL EMAILS, INCLUDING ALL LINKS TO
DOCUMENTS CONTAINED IN THE EMAILS, IN ORDER TO PROTECT ANY RIGHTS YOU
MAY HAVE AS A FORMER CUSTOMER OF GRIDDY. THE EMAIL YOU RECEIVE
WILL BE SENT TO YOU FROM: "GRIDDY ENERGY on behalf of noreply@stretto.com."

You can obtain information about Griddy and its bankruptcy case for free at:
https://cases.stretto.com/Griddy. If you The Court has set July 19, 2021 at 5:00 p.m. (Central Time)
as the last date for Former Customers* to assert claims against Griddy in the bankruptcy court. If you are
a Former Customer and believe you have a claim against Griddy that arose before March 15, 2021, you
must fill out and send in a proof of claim form according to instructions you will receive by email from
"GRIDDY ENERGY on behalf of noreply@stretto.com." Failure to file a claim before the deadline may,
pursuant to a future order of the Court, result in your claim being barred.

If you have questions or need to provide the Administrator with your updated and correct email address or
phone number, please email: GriddyInquiries@stretto.com, or call toll-free: 855.478.2725.

You may also obtain information about Griddy's bankruptcy at: https://cases.stretto.com/Griddy.
 *   You are a "Former Customer" if you (a) are a person who was a retail electricity customer (or the legal representative of such customer) of
     Griddy's at any point from February 11, 2021 through February 19, 2021 and (b) are the holder of a claim of any kind against Griddy that
     arose during or relates to the period from February 11, 2021 through February 19, 2021.




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